                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA                           Criminal no. 18-603 (GAG)
   Plaintiff,
                 v.

 ROLANDO SIERRA-VELAZQUEZ (2)
   Defendant.

                                  MOTION REQUESTING ORDER

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Sierra-Velazquez, and respectfully states and prays as

follows:

       1.       Mr. Sierra-Velazquez is currently detained at MDC Guaynabo pending the

resolution of his case.

       2.       Ever since he was detained at MDC, Mr. Sierra-Velazquez has been suffering from

various medical issues and receiving treatment at MDC and at a local hospital when necessary.

       3.       Mr. Sierra-Velázquez is again receiving treatment at a local hospital.

       4.       Mr. Sierra-Velazquez's medical history is relevant to his eventual sentencing event.

To properly prepare, it is necessary to examine his medical records in possession of MDC's

medical unit.

       5.       As informed by MDC ‘s legal department, in order to receive these records, the

undersigned can request an order from this Court.

       WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion and ORDER MDC to provide the undersigned counsel Mr. Sierra-Velazquez's

medical records.

       RECTFULLY SUBMITTED.
       In San Juan, Puerto Rico, this 4th day of January 2021.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.

                                  s/ Diego H. Alcalá Laboy
                                    Diego H. Alcalá Laboy
                                       P.O. Box 12247
                                     San Juan, PR 00914
                                     Tel.: (787) 432-4910
                                    USDC-PR No. 300504
                                 Dalcala@defensorialegal.com
